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BY ORDER OF THE COURT

FiLeD IN THE
JUDITH A. PHILIPS UNITED STATES DISTRICT COURT
Acting United States Attorney DISTRICT OF HAWAII
District of Hawaii DEC 16 2021
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CHRIS A. THOMAS #3514 at_ o'clock and Ain yy 7

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII
UNITED STATES OF AMERICA, cr.No. CR21-00143 LEK
Plaintiff, INDICTMENT

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) [21 US.C. §§ 841(a)(1),
841(b)(1)(A), 841(6)(1)(B),
)

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)

)

VS.

 

MATTHEW PALMEIRA and (01) and 846]
KALEI DAVIES, (02)
Defendants.
INDICTMENT

The Grand Jury charges:
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Count 1
Conspiracy to Distribute and Possess with Intent
to Distribute 50 grams or more of Methamphetamine
(21 U.S.C. § 846)

From a precise date unknown, but by at least as early as March 2020,
and continuing to in or around March 2021, both dates being approximate
and inclusive, within the District of Hawaii and elsewhere, MATTHEW
PALMEIRA and KALEI DAVIES, the defendants, did intentionally
combine, conspire, confederate, and agree with other persons known and
unknown, to distribute and possess with intent to distribute 50 grams or
more of methamphetamine, its salts, isomers, and salts of its isomers, a
Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A).

All in violation of Title 21, United States Code, Section 846.

Count 2
Possession with Intent to Distribute Methamphetamine
(21 U.S.C. §§ 841 (a)(1) and 841(b)(1)(A))
On or about April 18, 2020, within the District of Hawaii and
elsewhere, KALEI DAVIES, the defendant, did knowingly and intentionally
possess with intent to distribute 50 grams or more of methamphetamine, its

salts, isomers, and salts of its isomers, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
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841(b)(1)(A).
Count 3
Possession with Intent to Distribute Heroin
(21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B))

On or about April 18, 2020, within the District of Hawaii and elsewhere,
KALEI DAVIES, the defendant, did knowingly and intentionally possess with
intent to distribute 100 grams or more of a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(B).

Count 4
Possession with Intent to Distribute Cocaine Base
(21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B))

On or about April 18, 2020, within the District of Hawaii and elsewhere,
KALEI DAVIES, the defendant, did knowingly and intentionally possess with
intent to distribute 28 grams or more of a mixture or substance containing a
detectable amount of cocaine base, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(B).
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Count 5
Possession with Intent to Distribute Methamphetamine
(21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B))

On or about June 22, 2020, within the District of Hawaii and
elsewhere, KALEI DAVIES, the defendant, did knowingly and intentionally
possess with intent to distribute 5 grams or more of methamphetamine, its
salts, isomers, and salts of its isomers, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(B).

Count 6
Possession with Intent to Distribute Methamphetamine
(21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A))

On or about July 22, 2020, within the District of Hawaii and
elsewhere, MATTHEW PALMEIRA, the defendant, did knowingly and
intentionally possess with intent to distribute 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A).
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Count 7
Possession with Intent to Distribute Methamphetamine
(21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A))

On or about July 22, 2020, within the District of Hawaii and
elsewhere, KALEI DAVIES, the defendant, did knowingly and intentionally
possess with intent to distribute 50 grams or more of methamphetamine, its
salts, isomers, and salts of its isomers, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A).

Count 8
Possession with Intent to Distribute Methamphetamine
(21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A))

On or about July 24, 2020, within the District of Hawaii and
elsewhere, MATTHEW PALMEIRA, the defendant, did knowingly and
intentionally possess with intent to distribute 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A).
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Count 9
Possession with Intent to Distribute Methamphetamine
(21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B))

On or about August 6, 2020, within the District of Hawaii and
elsewhere, MATTHEW PALMEIRA, the defendant, did knowingly and
intentionally possess with intent to distribute 5 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(B).

Count 10
Possession with Intent to Distribute Methamphetamine
(21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A))

On or about October 13, 2020, within the District of Hawaii and
elsewhere, MATTHEW PALMEIRA, the defendant, did knowingly and
intentionally possess with intent to distribute 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A).
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Count 11
Possession with Intent to Distribute Methamphetamine
(21 ULS.C. §§ 841(a)(1) and 841(b)(1)(A))

On or about March 11, 2021, within the District of Hawaii and
elsewhere, MATTHEW PALMEIRA, the defendant, did knowingly and
intentionally possess with intent to distribute 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule I

controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A).
Forfeiture Allegation
1. The allegations contained in all paragraphs of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of noticing
forfeitures pursuant to Title 21, United States Code, Section 853.

2 The United States hereby gives notice to the defendants that, upon
conviction of the offenses charged in this Indictment, the government will seek
forfeiture, in accordance with Title 21, United States Code, Section 853(a), of any
and all property constituting, or derived from, any proceeds obtained, directly or

indirectly, as the result of the violations of Title 21, United States Code, Sections
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841(a)(1), 841(b)(1)(A), 841(b)(1)(B), and 846, alleged in this Indictment, and any
and all property used, or intended to be used, in any manner or part, to commit, or
to facilitate the commission of, the violations as set forth above, alleged in this
Indictment.
3. If by any act or omission of the defendants, any of the property
subject to forfeiture described in paragraph 2 above:
a. cannot be located upon the exercise of due diligence;

b has been transferred or sold to, or deposited with, a third party;

Bi has been placed beyond the jurisdiction of the court,
d. has been substantially diminished in value; or
é, has been commingled with other property which cannot be

subdivided without difficulty;
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the United States of America will be entitled to forfeiture of substitute property up

to the value of the property described above in paragraph 2, pursuant to Title 21,

United States Code, Section 853(p).

DATED: December _,

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\SUBITH A. PHILIPS
Acting United States Attorney
District of Hawaii

   

 

CHRIS A. THOMAS
Assistant U.S. Attqrney

U.S. v. Matthew Palmeira, et al.

Indictment ae
CrNo. (€'R21-00143 LEK
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2021, at Honolulu, Hawaii.

A TRUE BILL

/s/ Foreperson
FOREPERSON, GRAND JURY
